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                                                                               2019 Feb-20 PM 02:50
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION


Staci Krieg                              )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )      CASE NO.: _______________
                                         )
LIFE INSURANCE COMPANY                   )
OF NORTH AMERICA,                        )
d/b/a Cigna                              )
                                         )
      Defendant.                         )

                            ERISA COMPLAINT

                           Jurisdictional Allegations

      1.      Plaintiff, Staci Krieg is a resident citizen of the State of

Alabama and who resides in Madison County, Alabama.

      2.      Plaintiff is a plan participant in the Maury Regional Hospital

Long Term Disability Plan (hereinafter referred to as the "Plan"), which is

an "employee welfare benefit plan" as defined under 29 U.S.C. 1002(1).

This Plan is sponsored by Maury Regional Hospital, plaintiff’s former

employer.

3.    The Plan is insured by the Defendant, Life Insurance Company of

America (hereinafter referred to as "LINA") d/b/a Cigna under group policy

number LK-0964290. LINA insures the Plan and acts as both the claims
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administrator and delegated plan fiduciary for purposes of determining

eligibility for long-term disability benefits under the Plan.

4.    The Plaintiff’s action is governed by the Employee Retirement

Income Security Act of 1974 also known as “ERISA” (29 U.S.C. 1001, et.

seq.). This Court has original subject matter jurisdiction of this action

pursuant to 29 U.S.C. 1132(e) and the Plaintiff’s claim arises under the laws

of the United States of America. 28 U.S.C. 1331.



                              Factual Allegations

      5.     One of the benefits of the Plan is that it provides long-term

disability benefits to those eligible participants who meet the definition of

"disabled" or "totally disabled" under the terms of the Plan.

      6.     The Plaintiff's last day of work with her employer was July 19,

2017. Plaintiff filed for short and long term disability thereafter. Defendant

paid the Plaintiff short term disability benefits but not long term.

      7.     In a letter dated Jan 8, 2018, LINA advised the Plaintiff that it

had determined that she did not meet the definition of disabled under the

terms of the Plan for long term disability. LINA advised the Plaintiff that she

could appeal this decision.
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      8.     In a letter dated February 27, 2018, the Plaintiff appealed the

denial of her claim for long term-term disability benefits.

      9.     In a letter dated May 9, 2018, LINA advised the Plaintiff that

her appeal was denied but that she could file a second voluntary appeal.

      10.    In a letter dated August 7, 2018, Plaintiff filed a voluntary

second appeal regarding the denial of her long term disability claim.

      11.    In a letter dated October 1, 2018, LINA advised that the

Plaintiff‘s voluntary appeal was denied and that she had exhausted all

administrative remedies under the Plan and that she had a right to bring an

ERISA action.



                                  COUNT I

      12.    Plaintiff readopts and realleges the Jurisdictional Allegations

and Factual Allegations set out in paragraphs 1-11 as if fully and completely

set out herein.

      13.    Plaintiff is disabled under the terms of the Plan due to various

sicknesses including a working diagnosis of MS, diabetes type 2,

fibromyalgia, paresthesia of both arms and feet, hypertension, renal artery

stenosis, multi-joint arthritis, mild cognitive impairment due to Alzheimer’s
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and obesity. Plaintiff has lifting restriction of less than 5 lbs and she cannot

drive.

         14.   The Plaintiff has advised the Defendant that he meets the

definition of "disabled", that is, she is unable to perform the material and

substantive duties of her regular occupation as a medical assistant in an

urgent care unit and also is disabled from “any occupation” as well.

         15.   LINA has wrongfully denied the Plaintiff's long-term disability

claim.

         16.   Plaintiff is entitled the Plan long-term disability benefits

pursuant to 29 U.S.C. 1132(a)(1)(b) for as long as Plaintiff remains disabled

under the terms of the Plan.

         17.   Plaintiff has had no choice but to file this action for benefits

due under the terms of the Plan and has had to hire an attorney to help her

prosecute both her appeals and this action.

         WHEREFORE THESE PREMISES CONSIDERED, the Plaintiff

prays that this Honorable Court will enter a judgment in favor of the Plaintiff

and against the Defendant for past long-term disability benefits pursuant to

29 U.S.C. 1132(a)(1)(b); for the Court to order the Defendant to pay future

long-term disability benefits to the Plaintiff under the terms of the Plan for

as long as the Plaintiff remains disabled; and for the Court to order the
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Defendants to pay interest on back due benefits and to award a reasonable

attorney's fees and other costs pursuant to 29 U.S.C. 1132(g), and for any

other declaratory and equitable relief otherwise permitted under ERISA

pursuant to 29 U.S.C. 1001, et. seq.



                                R. Willson Jenkins_______________
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                *Defendant to be served by certified mail:

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